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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 09-cr-117-05, 08-SM

Neda Shojaei and Arash Rahbar

                                     ORDER

      Defendant Shojaei’s motion to continue the final pretrial conference and

trial is granted (document 227). Trial has been rescheduled for the September

2010 trial period. Defendant Shojaei shall file a waiver of speedy trial rights

not later than August 12, 2010.     On the filing of such waiver, his continuance

shall be effective

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference:      September 10, 2010 at 9:30 p.m.

      Jury Selection: September 21, 2010 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

August 3, 2010

cc:   All Counsel of Record
      US Probation
      US Marshal




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